           Case 24-40446                  Doc 1       Filed 05/02/24 Entered 05/02/24 10:58:39                        Desc Main
                                                        Document     Page 1 of 60


Fill in this information to identify your case:

United States Bankruptcy Court for the:

District of Massachusetts

ase numDef (It known)                                         chapter_11
                                                                                                                               □ Check if this is an
                                                                                                                                    amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                     06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Form s for Non-Individuals, is available.


1.    Debtor's name                               Twentyfirst Century Biochemicals, Inc.


2.    All other names debtor used in the
                                                  21st Century Biochemicals
      last 8 years
      Include any assumed names, trade
      names, and doing business as names




3.    Debtor's federal Employer
      Identification Number (EIN)                 XX-XXXXXXX


4.    Debtor's address                            Principal place of business                       Mailing address, if different from principal
                                                                                                    place of business

                                                  260 Cedar Hill #3
                                                  Number    Street                                  Number        Street


                                                  Marlborough               MA    01752
                                                  City                      State Zip Code          City                   State Zip Code

                                                                                                    Location of principal assets, if different
                                                                                                    from principal place of business

                                                  MIDDLESEX
                                                  County                                            Number                 Street



                                                                                                    City                   State Zip Code



5.    Debtor's website (URL)                      www.21stcenturybio.com




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 1 of 5
Copyright Financial Software Solutions, LLC                                                                                                BlueStylus
           Case 24-40446              Doc 1           Filed 05/02/24 Entered 05/02/24 10:58:39                                     Desc Main
                                                        Document     Page 2 of 60
Debtor         Twentyfirst Century Biochemicals, Inc.                                                 Ca se numb er (it known)
               Na me


6.     Type of debtor                            [    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                 D    Partnership (excluding LLP)

                                                 D    Other. Specify:



7.     Describe debtor's business:               A. Check one:
                                                 D    Health Care Business (as defined in 11 U.S.C. § 101 (27A))

                                                 D    Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))

                                                 D    Railroad (as defined in 11 U.S.C. § 101 (44))

                                                 D    Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                 D    Commodity Broker (as defined in 11 U.S.C. § 101 (6))

                                                 D    Clearing Bank (as defined in 11 U.S.C. § 781 (3))

                                                 ]    None of the above



                                                 8. Check all that apply:

                                                 D    Tax-exempt entity (as described in 26 U.S.C. § 501)

                                                 D    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                      80a-3)
                                                 D    Investment advisor (as defined in 15 U.S.C. $ 80b-2(a)(11))



                                                 C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                      http_//yyyy_uscourts_goy/four-digit-national-association-naigs-codes .

                                                      3254


8.    Under which chapter of the                 Check one:
      Bankruptcy Code is the debtor
                                                 D    Chapter7
      filing?
                                                 D    Chapter9
                                                 []   Chapter 11. Check all that apply.

      A debtor who is a "small business                             D       The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D), and its
      debtor" must check the first sub-box.                                 aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      A debtor as defined in § 1182(1) who                                  affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      elects to proceed under subchapter V                                  recent balance sheet, statement of operations, cash-flow statement, and federal
      of chapter 11 (whether or not the                                     income tax return or if any of these documents do not exist, follow the procedure in
      debtor is a "small business debtor')                                  11U.S.C. S 1116(1)(B).
      must check the second sub-box.
                                                                   0        The debtor is a debtor as defined in 11U.S.C. S$ 1182(1). its aggregate
                                                                            noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                            less than $7,500,000, and it chooses to proceed under Subchapter V of Chapter
                                                                            11. If this sub-box is selected, attach the most recent balance sheet, statement of
                                                                            operations, cash-flow statement, and federal income tax return, or if any of these
                                                                            documents do not exist, follow the procedure in 11US.C. $ 1116(1)(B8).
                                                                   D        A plan is being filed with this petition.

                                                                   D        Acceptances of the plan were solicited prepetition from one or more classes of
                                                                            creditors, in accordance with 11US.C. $ 1126(b).
                                                                   D        The debtor is required to file periodic reports (for example, 10K and 10O) with the
                                                                            Securities and Exchange Commission according to§ 13 or 15(d) of the Securities
                                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                            Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                   D        The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                            Rule 12b-2.
                                                 D    Chapter 12




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 2 of 5
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Debtor         Twentyfirst Century Biochemicals, Inc.                                                   Ca se numb er (itknown)
               Na me




9.    Were prio r bankruptcy cases filed
                                                    J     No
      by or against the debto r within the
      last 8 years?                                 □     Yes.    District                                  When
                                                                                                                    ------
                                                                                                                                        Case number
                                                                                                                                                      --------
                                                                                                                     MM/DD/YYYY
      If more than 2 cases, attach a
      separate list.                                              District
                                                                             ---------- Wen MM/D [ /Y Vy                                Case number




10.   Are any bankruptcy cases pending              !     No
      or being filed by a business partner
                                                    D     Yes.    Debtor                                                     Relationship                            _
      or an affiliate of the debtor?                                         ---------------
                                                                  District                                                  When
      List all cases. If more than 1, attach a
                                                                                                                                              MM/00 /YYYY
      separate list.

                                                                  Case number, if known



11.   Why is the case filed in this                 Check all that apply:
      district?                                     611   Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                          days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                                          any other district.
                                                    □     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                                          district.


12.   Do es the debtor own or have                  ]     No
      possessio n of any real property or
      personal pro perty that needs                 □     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      im m ediate attentio n?                                    Why do es the property need im m ediate attention? (Check all that apply.)

                                                                 □    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health
                                                                      or safety.

                                                                      What is the hazard?
                                                                 □    It needs to be physically secured or protected from the weather.

                                                                 □    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                                      related assets or other options).
                                                                 □    Other



                                                                 Where is the property?
                                                                                                 Number                      Street




                                                                                                 City                                 State       ZIP Code



                                                                 Is the property insured?
                                                                 □    No
                                                                 □    Yes.    Insurance agency

                                                                              Contact name

                                                                              Phone




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 3 of 5
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 Debtor         Twentyfirst Century Biochemicals, Inc.                                                  Case numb er (if know)
                Na me



              Statistical and administrative information


 13.   Debtor's estimation of available          Check one:
       funds                                     0     Funds will be available for distribution to unsecured creditors.

                                                 □    After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                      creditors.



14.    Estimated number of creditors             □     1-49                                  ]   1,000-5,000                      □   25,001-50,000
                                                 I    50-99                                  □ 5,001-10,000                       0   50,001-100,000

                                                 □     100-199                               □ 10,001-25,000                      D   More than 100,000

                                                 □    200-999



15.    Estimated assets                          □    $0-$50.000                             □ $1,000,001-$10 million             □ $500,000,001-$1 billion
                                                 □    $50.,001-$100,000                      □ $10,000,001-$50 million            □ $1,000,000,001-$10 billion
                                                 □    $100,001-$500,000                      □ $50,000,001-$100 million           □ $10,000,000,001-$50 billion
                                                 0    $500,001-$1 million                    □ $100,000,001-$500 million          □ More than $50 billion

16.    Estimated liabilities                    □     $0-$50,000                             0   $1,000.001-$10 million           □ $500,000,001-$1 billion
                                                □     $50,001-$100,000                       □ $10.000,001-$50 million            □ $1,000.000,001-$10 billion
                                                □     $100,001-$500.000                      □ $50.000,001-$100 million           □ $10.000,000.001-$50 billion
                                                □     $500,001-$1 mi llion                   □ $100,000,001-$500 million          □ More than $50 billion

             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519. and 3571.



17.    Declaration and signature of                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
       authorized representative of debtor            in this petition.
                                                      I have been authorized lo file this petition on behalf of the debtor.

                                                      I have examined the information in this petition and have a reasonable belief that the information is
                                                      true and correct.



                                                I declare under penalty ofl: rjuli
                                                                                 that the foregoing is true and correct.




                                                                                             -
                                                       ecute@on        o'( Zzf
                                                                        MM    DD/        Y


                                                 • w          oe-so
                                                   Sig nature of autho rized representative of de ror
                                                                                                                  Eric A. Berg
                                                                                                                  p rinted name



                                                     Title     President




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Debtor         Twentyfirst Century Biochemicals, Inc.                           Ca se numb er (at known)
               Na me



18.    Signature of attorney                  Isl Jonathan Horne                             •• 5//4
                                              Signature of attorney for
                                                                                                4
                                              Jonathan Horne
                                              Printed name

                                              Murtha Cullina LLP
                                              Firm name

                                              33 Arch Street, 12th Floor
                                              Number          Street

                                              Boston                                          MA              02110
                                              City                                            State           ZIP Code


                                              (617) 457-4000                                 jhorne@murthalaw.com
                                              Contact Phone                                   Email address



                                              673098                                          Massachusetts
                                              Bar number                                      State




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                          page 5 of 5
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                    TWE NTYFIRS T CENTURY BIOCHEMICALS, INC.
                                 Omnibus Resolutions


                                           May 1, 2024


       The undersigned, constituting the entire board of directors (the "Board") of Twentyfirst
Century Biochemicals, Inc., a Delaware corporation (the "Company"), hereby consent to and
adopt the following resolutions for and on behalf of the Company, which resolutions have not
been modified and are in full force and effect as of the date hereof:


     WHE REAS, the Board has consulted with the management and legal advisors of the
Company and fully considered all strategic alternatives available to the Company.

        NOW, THE REFORE, BE IT,

        RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
the Company, its creditors, equity holders, and other interested parties, that the Company be
authorized and empowered to file, at such time as it is deemed necessary by the appropriate
officers of the Company, a voluntary petition seeking relief under Chapter 11 of Title 11 of the
United States Code (the "Bankruptcy Code") in the United States Bankruptcy Court for the
District of Massachusetts, for all lawful purposes under the Bankruptcy Code; and it is further

        RESOLVED, that Eric A. Berg and any person duly authorized by Eric A. Berg (an
"Authorized Person") are empowered and directed to take action to: (i) prepare and file on
behalf of the Company a petition for relief under Chapter 11 of the Bankruptcy Code; (ii) cause
the Company to perform its functions and duties as a debtor in possession pursuant to the
applicable provisions of the Bankruptcy Code; (iii) take such steps on behalf of the Company as
may be necessary or appropriate to the Company's Chapter 11 proceeding; (iv) execute and file
on behalf of the Company any pleading appropriate or necessary for the Company to fulfill its
obligations under the Bankruptcy Code and/or applicable non-bankruptcy law; and (v) execute
such further documents and do such further acts as such Authorized Person may deem necessary
or appropriate with respect to the forgoing, the execution of any document or the doing of any
act by such Authorized Person in connection with such proceedings to be conclusively presumed
to be authorized by this vote; and it is further

        RESOLVED, that the Company may engage and retain Murtha Cullina LLP, as general
bankruptcy counsel to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company's rights and
obligations, including filing any pleadings; and, in connection therewith, each Authorized
Person, with power of delegation, are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Murtha Cullina LLP; and it is further


        RESOLVED, that the Company may engage, retain, and employ any other professionals
to assist the Company in carrying out its duties under the Bankruptcy Code; and, in connection
therewith, each Authorized Person, with power of delegation, are hereby authorized and directed
to execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of any other professionals as
necessary; and it is further

        RESOLVED, that each Authorized Person, be, and hereby are, with power of delegation,
authorized, empowered, and directed to execute and file all petitions, schedules, motions, lists,
applications, pleadings, and other papers; and, in connection therewith, to employ and retain all
assistance by legal counsel, accountants, financial advisors, and other professionals and to take
and perform any and all further acts and deeds that each of the Authorized Persons deem
necessary, proper, or desirable in connection with the Company's Chapter 11 case; and it is
further

        RESOLVED, that the Board has received sufficient notice of the actions and transactions
relating to the matters contemplated by the forgoing resolutions; and it is further
Case 24-40446           Doc 1       Filed 05/02/24           Entered 05/02/24 10:58:39             Desc Main
       RESOLVED, that any and all actions heretofore or hereafter lawfully taken in the name
                                   Document             Page 7 of 60
or on behalf of the Company in good faith by any Authorized Person in furtherance of the
purposes of the forgoing resolutions or in connection with the transactions contemplated therein
are hereby ratified, confirmed, and adopted as the acts and deeds ofthe Company.

       This resolution may be executed in as many counterparts as may be required; all
counterparts shall collectively constitute one and the same resolution.

        IN WITNESS WHEREOF, the undersigned have executed this resolution, as of the
date first written above.




                                            David Fishman




                                            Jordan B. Fishman
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          RESOLVED, that each Authorized Person, be, and hereby are. with power of delegation.
  authorized. empowered, and directed to execute and file all petitions, schedules, motions, lists,
  applications, pleadings, and other papers; and, in connection therewith, to employ and retain all
  assistance by legal counsel, accountants, financial advisors, and other professionals and to take
  and perform any and all further acts and deeds that each of the Authorized Persons deem
  necessary, proper, or desirable in connection with the Company's Chapter II case; and it is
  further

          RESOLVED, that the Board has received sufficient notice of the actions and transactions
  relating to the matters contemplated by the forgoing resolutions; and it is further

          RESOLVED, that any and all actions heretofore or hereafter lawfully taken in the name
  or on behalf of the Company in good faith by any Authorized Person in furtherance of the
  purposes of the forgoing resolutions or in connection with the transactions contemplated therein
  are hereby ratified. confirmed, and adopted as the acts and deeds of the Company.

         This resolution may be executed in as many counterparts as may be required; all
  counterparts shall collectively constitute one and the same resolution.

           IN WITNESS WHEREOF. the undersigned have executed this resolution, as of the
  date first written above.



                                                David Fishman




                                        -~
                                         --;f--J--1d~a-
                                                      n_B f..;;.i.,.
                                                                 sl_11.,.n_a_
                                                                            n---
                                                                               =--~--
               Case 24-40446                Doc 1        Filed 05/02/24 Entered 05/02/24 10:58:39                                   Desc Main
                                                           Document     Page 9 of 60
 Fill in this information to identify the case and this filing:


  Debtor Name      Twentyfirst Century Biochemicals, Inc.

  United States Bankruptcy Court for the.    District of Massachusetts

 Gase number {tk now )




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
 for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document, and the
 date. Bankruptcy Rules 1008 and 9011.
 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 US.C. $$ 152, 1341, 1519, and
 3571.


-Declaration and signature



          l am the president, another officer, or an authorized agent of the corporation, a member or an authorized agent of the partnership, or another
          individual serving as a representative of the debtor in this case

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct


          I     Schedule A/B Assets--Real and Personal Property (Official Form 2064/B8)

          E     Schedule D Creditors Who Have Claims Secured by Property (Official Form 206D)

                Schedule EIF Creditors Who Have Unsecured Claims (Official Form 206E/F)

          EJ    Schedule G. Executory Contracts and Unexpired Leases (Official Form 206G)

          HI    Schedule H Codebtors (Official Form 206H)

          EI   Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          )I   Amended Schedule

         EJ    Chapter 11 or Chapter 9 Cases List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         D)    Other document that requires a declaration



         I declare under penalty of perjury that the foregoing is true and correct



         Executed on     5/2/2024
                         MM/DD/YYYY
                                                                                     X   £ __., , ,___
                                                                                          Signature of individual signing      behalf of debtor



                                                                                          Eric A. Berg
                                                                                          printed name


                                                                                          President
                                                                                          Position or relationship to debtor




Official For 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors                                       page 1 of 1
                        Case 24-40446             Doc 1       Filed 05/02/24 Entered 05/02/24 10:58:39                                Desc Main
    Fill in this information to identify your case:            Document     Page 10 of 60
    Debtor Name         Twentyfirst Century Biochemicals, Inc.

    United States Bankruptcy Court for the:     District of Massachusetts                                                                      □ Check if this is an
                                                                                                                                                  amended filing
    Case number (If known)




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                          12/15
    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. $ 101(31 ). Also, do not include claims by secured
    creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured
    claims.



Name of creditor and complete                  Name, telephone        Nature of the claim       Indicate if         Amount of unsecured claim
mailing address, including zip code            number, and email      (for example, trade       claim is
                                               address of creditor    debts, bank loans,        contingent,         If the claim is fully unsecured, fill in only
                                               contact                professional              unliquidated,       unsecured claim amount. If claim is partially
                                                                      services, and             or disputed         secured, fill in total claim amount and deduction
                                                                      government                                    for value of collateral or setoff to calculate
                                                                      contracts)                                    unsecured claim.



                                                                                                                    Total claim, if        Deduction for    Unsecured
                                                                                                                    partially              value of         claim
                                                                                                                    secured           I    collateral or
                                                                                                                                           setoff

         Melvin Budish Estate of                                      Loan                                                                                  $640,000.00
         86 Pleasant Street                                                                     Disputed
         Worcester, MA 01609



2        TV Marlborough, LLC                                          Rent                                                                                  $267,229.24
         138 Trapelo Road
         Lincoln, MA 01773

                                          4-                                                +                   +                     4-


3        Origene                                                      Vendor                                                                                $190,000.00
         9620 Medical Center Drive                                                              Disputed
         Suite 200
         Rockville, MD 20850
                                                                                                                                      +
4        Clare Tuson                                                  Loan                                                                                  $182,214.00
         175 Maple Street Apr 306
         Marlborough, MA 01752

                                                                                                                                      f


5        Joan Berg                                                    Loan                                                                                  $100,000.00
         11465 Quivas Way
         Westminster, CO 80234




    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 1 of 3
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    Debtor        Twentyfirst Century Biochemicals, Document
                                                    Inc.             PageCase
                                                                           11number
                                                                              of 60(if known)
                  Name




6        Assayquant Technologies                                                                                         $80,000.00
         260 Cedar Hill Street,
         Suite 2
         Marlborough, MA 01752
                                                                                                          +
7        Saxe Doernberger & Vita                             Legal Fees                                                  $73,557.66
         P.C.
         35 Nutmeg Drive
         Suite 140
         Trumbull, CT 06611
                                                                             +
8        Massachusetts DoUA                                 Taxes                                                       $62,000.00
         PO Box 419815                                                            Disputed
         Boston, MA 02241-981


9        Jeffery Nagar                                       Loan                                                       $60,000.00
         11312 RIDGEGATE DR
         RALEIGH, NC 27617

                                                                             +-                           +
10       John Prosser Estate of                             Loan                                                        $55,000.00
         125 Foxfire Place
         Rockton, IL 61072

                                                                             +               +            +
11       Byzfunder                                          Loan                                                        $50,000.00
         530 7th Ave Suite 505                                                    Disputed
         New York, NY 10018

                                   t                                         +               4
12       Jeffery Peterson                                   Loan                                                        $50,000.00
         10 POWHATAN RD
         PEPPERELL, MA 01463


13       Andy Feldman                                       Loan                                                        $46,500.00
         100 WATER ST
         Worcester, MA 01604


14       Jefferson L. Murray                                Loan                                          t             $30,000.00
         102 WHEELER
         EXECUTIVE CTR
         AUGUSTA, GA 30909

15       Leonard Berman                                     Loan                                                        $21,875.00
         230 Woodward St
         Waban, MA 02468

                                                                             4


16       P3 Biosystems                                      Vendor                                                      $20,831.15
         10200 Forest Green Blvd
         Suite 112
         Louisville, KY 40223




    Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims   page 2 of 3
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 Debtor                                          Document
              Twentyfirst Century Biochemicals, Inc.             Page 12number
                                                                    Case  of 60(if known)
               Name




17   Donald H. Peterson                                  Loan                                                        $16,500.00
     313 FURBISH RD
     WELLS, ME 04090

                                                                         +                            +
18   Reagents/TCP Analytical                            Vendor                                                      $14,728.00
     5609 Fern Valley Rd
     Louisville, KY 40228


19   Pamela Crowley                                     Unpaid                                                      $14,061.00
     23 Laurelwood Dr                                   Compensation
     Stoughton, MA 02072


20   Erik MaCauley                                      Unpaid                                                      $13,755.00
     3316 West Sutton Road                              Compensation
     Sutton, MA 10590




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims   page 3 of 3
                Case 24-40446               Doc 1       Filed 05/02/24 Entered 05/02/24 10:58:39                  Desc Main
Fill in this information to identify your case:          Document     Page 13 of 60
Debtor Name      Twentyfirst Century Biochemicals, Inc.

United States Bankruptcy Court for the: District of Massachusetts                                                        □ Check if this is an
                                                                                                                            amended filing
Case number (If known)




Official Form 206Sum
Summary of Your Assets and Liabilities for Non-Individuals                                                                            12/15


■if I      Summary of Assets

  1. Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule AIB                                                                              $         0.00
                                                                                                                         --------

     1b. Total personal property:

        Copy line 91A from Schedule AIB                               .                                              681,535.17

     1c Total of all property:
        Copy line 92 from Schedule AIB                                                                               $ 681,535.17




■ifI       Summarize Your Liabilities

  2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D          .         $ 1,238,557.17


  3. Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule EIF               .                             s 39,404.00
     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule EIF                          +$ 2,508,555.45




 4. Total liabilities                                                                                         .
    Lines 2 + 3a + 3b                                                                                               • 3.786.516.62




Official Form 206Sum                              Summary of Assets and Liabilities for Non-Individuals                             page 1 of 1
                   Case 24-40446                 Doc 1   Filed 05/02/24 Entered 05/02/24 10:58:39                           Desc Main
Fill in this information to identify your case:           Document     Page 14 of 60
Debtor Name         Twentyfirst Century Biochemicals, Inc.

United States Bankruptcy Court for the: District of Massachusetts                                                                □ Check if this is an
                                                                                                                                    amended filing
Case number (If known)




Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/8, list any executory contracts or unexpired leases.
Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet
is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor's interest, do
not deduct the value of secured claims. See the instructions to understand the terms used in this form.


■iii        Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?
     □ No. Go to Part 2.
     E]    Yes. Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                        Current value of debtor's
                                                                                                                            interest


2.   Cash on hand                                                                                                           s 1,200.00

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
     Name of institution (bank or brokerage firm)        Type of account                  Last 4 digits of account number

     3.1       Avidia Bank                               Checking Account                 9516                              s 1,500.00

     3.2       Bank of America                           Checking Account                9593                               s 17,500.00

     3.3       Santander                                 Checking Account                 1800                              s 8,000.00

4.   Other cash equivalents (Identify all)


5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                         s 28,200.00




Official Form 206A/B                                                Schedule A/B: Property                                                  page 1 of 11
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Debtor          Twenty first Century Biochemicals, Inc.                                Case number (if known)
                 Name




■iii       Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?
     E    No. Go to Pat3
     □ Yes. Fill in the information below.
                                                                                                                       Current value of debtor's
                                                                                                                       interest

7.   Deposits, including security deposits and utility deposits
     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
     Description, including name of holder of prepayment


9.   Total of Part 2
     Add lines 7 through 8. Copy the total to line 81.                                                                  $           0.00
                                                                                                                            ----------

■iii       Accounts receivable

10. Does the debtor have any accounts receivable?
     □ No. Go to Part 4.
     li-1 Yes. Fill in the information below.
                                                                                                                       Current value of debtor's
                                                                                                                       interest

11. Accounts receivable

     11a. 90 days old or less:                                  98,635.17                                       0.00   s 98635.17
                                                face amount                   doubtful or uncollectible accounts




     11 b. Over 90 days old:                                     4,003.00                                 4,003.00     s 0.00
                                                face amount                   doubtful or uncollectible accounts




12. Total of Part 3
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                            s 98,635.17




Official Form 206A/B                                Schedule A/8: Property Real and Personal Property                                 page 2 of 11
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Debtor           Twentyfirst Century Biochemicals, Inc.                                Case number /if known)
                 Name




■Iii       Investments

13. Does the debtor own any investments?
     RI No. Go to Part5.
     □ Yes. Fill in the information below.
                                                                                              Valuation method used       Current value of debtor's
                                                                                              for current value           interest

14. Mutual funds or publicly traded stocks not included in Part 1
     Name of fund or stock:

15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture
     Name of entity:                                                   % of ownership:

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
     Describe:


17. Total of Part4
     Add lines 14 through 16. Copy the total to line 83.                                                                   s 0.00


          Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     □ No. Go to Part 6.
     E Yes. Fill in the information below.
      General description               Date of the last           Net book value of         Valuation method used        Current value of debtor's
                                        physical inventory         debtor's interest         for current value            interest
                                                                   (Where available)

19. Raw materials


    Chemicals                           12/15/2023                 $ 6,285.00                Book Value               $          Unknown
                                                                                                                          ------------
                                         MM/ DD/YYYY




20. Work in progress


    Projects on going                   4/1/2024                   $     154,885.00           Book Value              $          Unknown
                                        MM /DD/YYYY
                                                                                                                          -----------


21. Finished goods, including goods held for resale

    Peptides and
    antibodies                          12/31/2023                 $     160,000.00           Book Value              $          Unknown
                                        MM /DD/YYYY
                                                                                                                          -----------


22. Other inventory or supplies

Official Form 206A/B                               Schedule A/B: Property Real and Personal Property                                     page 3 of 11
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     Lab supplies                         12/31/2023                    $ 4,426.00              Book Value                s Unknown
                                             MM/ DD/YYYY




23. Total of Part 5
     Add lines 19 through 22. Copy the total to line 84.                                                                      $           0.00
                                                                                                                                  ----------

24. Is any of the property listed in Part 5 perishable?
     □ No
         Yes


25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
    EI No
     □ Yes.
               Book value      $         0.00 Valuation method
                                   --------                    ---------                                  Current Value   s 0.00


26   Has any of the property listed in Part 5 been appraised by a professional within the last year?
     EI No
     □ Yes

           Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     EJ No Go to Part7.
     □ Yes. Fill in the information below.
      General description                                           Net book value of           Valuation method used         Current value of debtor's
                                                                    debtor's interest           for current value             interest
                                                                    (Where available)

28. Crops
       either planted or harvested


                                                                    $        0.00                                         $             0.00
                                                                        -------                                               ------------



29. Farm animals Examples: Livestock, poultry, farm-raised fish


                                                                    s 0.00                                                $                          0._
                                                                                                                                                       00
                                                                                                                                                        _



30. Farm machinery and equipment (Other than titled motor vehicles)


                                                                    $        0.00
                                                                        -------                                           $                          0_._
                                                                                                                                                        00_




Official Form 206A/B                                 Schedule A/B: Property Real and Personal Property                                      page 4 of 11
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Debtor          Twentyfirst Century Biochemicals, Inc.                                   Case number (it known)
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31. Farm and fishing supplies, chemicals, and feed


                                                                         s 0.00                                                 s 0.@o


32. Other farming and fishing-related property not already listed in Part 6


                                                                      $               0.00                                     $            0.00
                                                                          -------                                                  -----------


33. Total of Part 6.
     Add lines 28 through 32. Copy the total to line 85.                                                                           $            0.00
                                                                                                                                       -----------

34. Is the debtor a member of an agricultural cooperative?
     E No
     D Yes. Is any of the debtor's property stored at the cooperative?
         0 No
         D Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
    EI No
     D Yes
               Book value      $          0.00 Valuation method                                            Current Value   $          0.00
                                   --------                     ----------                                                     --------


36. Is a depreciation schedule available for any of the property listed in Part 6?
    EI No
     D   Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
    EI No
     D   Yes




            Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
     D   No. Go to Part 8.
     EI Yes. Fill in the information below.
      General description                                            Net book value of         Valuation method used            Current value of debtor's
                                                                     debtor's interest         for current value                interest
                                                                     (Where available)

39. Office furniture

    Desks, chairs, etc                                                52,805.00                 Book Value                     s Unknown




Official Form 206A/B                                 Schedule A/B: Property Real and Personal Property                                          page 5 of 11
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40.   Office fixtures

                                                                               s 0.00                                           s 0.00


41. Office equipment, including all computer equipment and
    communication systems equipment and software

      Office equipment                                                         $   153.838.00            Book Value             $          Unknown
                                                                                                                                    -----------


42.   Collectibles Examples: Antiques and figurines; paintings, prints, or other
      artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
      or baseball card collections; other collections, memorabilia, or collectibles

                                                                              $        0.00
                                                                                   ------                                       s 0.00


43. Total of Part 7.
      Add lines 38 through 42. Copy the total to line 86.                                                                            $           0.00
                                                                                                                                         ----------
44. Is a depreciation schedule available for any of the property listed in Part 7?
    D No
          Yes

45    Has any of the property listed in Part 7 been appraised by a professional within the last year?
      EI No
      D Yes



III -.rs.-
46. Does the debtor own or lease any machinery, equipment, or vehicles?
      D No. Go to Part 9.
      ] Yes. Fill in the information below.

       General description                                                   Net book value of          Valuation method used       Current value of debtor's
                                                                             debtor's interest          for current value           interest
       Include year, make, model, and identification numbers (i.e.,
       VIN, HIN, or N-number)                                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                                                                              $        0.00                                     $            0.00
                                                                                   ------                                           -----------


48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
    floating homes, personal watercraft, and fishing vessels

                                                                              s 0.00                                            $                          o_.o_o_




Official Form 206A/B                                  Schedule A/B: Property Real and Personal Property                                            page 6 of 11
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Debtor              Twentyfirst Century Biochemicals, Inc.                                       Case number (if known)
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49. Aircraft and accessories

                                                                              $       0.00                                           $            0.00
                                                                                  ------                                                 -----------


50.    Other machinery, fixtures, and equipment (excluding farm
       machinery and equipment)
                                                                                                         Estimated Market
      See Attached List                                                       $ 550,000.00               Value                       s 554.700.00


51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.                                                                                    $ 554,700.00



52.   Is a depreciation schedule available for any of the property listed in Part 8?
      □ No
      E Yes

53.   Has any of the property listed in Part 8 been appraised by a professional within the last year?
      EI     No
      □ Yes


■ifI           Real property
54. Does the debtor own or lease any real property?
      □ No. Go to Part 10.
      [      Yes. Fill in the inform ation below.


55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

        Description and location of                   Nature and extent           Net book value of          Valuation method used           Current value of
        property                                      of debtor's interest        debtor's interest          for current value               debtor's interest
       Include street address or other description    in property                 (Where available)
       such as Assessor Paroel Number (APN).
       and type of property (for example,
       acreage, factory, warehouse, apartmen t or
       office building). if available.

                Lease of real property
                located at 260 Cedar
                Hill #3, Marlborough,
      55.1      MA                                    Leasehold                   s 0.00                                                 $         Unknown
                                                                                                                                             ----------


56. Total of Part 9.
      Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.                s 0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
      EI   No
      □ Yes

Official Form 206A/8                                    Schedule A/B: Property Real and Personal Property                                                page 7 of 11
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Debtor           Twentyfirst Century Biochemicals, Inc.                                  Case number (it known)
                  Name



58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    EI No
      □ Yes

              Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
      □ No. Go to Part 11.
          Yes. Fill in the information below.
        General description                                          Net book value of           Valuation method used        Current value of debtor's
                                                                     debtor's interest           for current value            interest
                                                                     (Where available)

60. Patents, copyrights, trademarks, and trade secrets

                                                                      $           0.00                                   $            0.00
                                                                          ------                                             -----------

61. Internet domain names and websites

      www.21stcenturybio.com                                          $       0.00
                                                                          ------                                         s Unknown

62. Licenses, franchises, and royalties

                                                                      s 0.00                                             o.oo
63. Customer lists, mailing lists, or other compilations

      Customer List                                                   s 0.00                                             s Unknown


64. Other intangibles, or intellectual property

                                                                      s 0.00                                             $             0.00
                                                                                                                             ------------


65.   Goodwill
                                                                      $       0.00
                                                                          ------                                         $                           0._0_
                                                                                                                                                         0




66. Total of Part 10.
      Add lines 60 through 65. Copy the total to line 89.                                                                     s 0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11USC $$ 101(41A) and 107)?
    EI No
      □ Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    EI No
      □ Yes

Official Form 206A/B                                  Schedule A/B: Property Real and Personal Property                                     page 8 of 11
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                Name



69. Has any of the property listed in Part 1 O been appraised by a professional within the last year?
    EI No
     □ Yes

■¥111       All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
     Include all interests in executory contracts and unexpired leases not previously reported on this form.
     E No Go to Part 12
     D Yes. Fill in the information below.
                                                                                                                               Current value of debtor's
                                                                                                                               interest

71. Notes receivable
     Description (include name of obligor)

                                                                     0.00    -                                     0.00   =    s 0.00
                                                 Total face amount               doubtful or uncollectible accounts




72. Tax refunds and unused net operating losses (NOLs)
     Description (for example, federal, state, local)

                                                                                      Tax Year                                 s 0.00


73. Interests in insurance policies or annuities

                                                                                                                               s 0.00


74. Causes of action against third parties (whether or not a lawsuit has been filed)

                                                                                                                               $           0.00
                                                                                                                                   ----------
    Nature of claim

    Amount requested                         $                       0._
                                                                       00_



75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of
    the debtor and rights to set off claims

                                                                                                                               s 0.00
    Nature of claim
    Amount requested                         $            0.00
                                                 -----------

76. Trusts, equitable or future interests in property

                                                                                                                               s 0.00



Official Form 206A/B                                  Schedule A/B: Property Real and Personal Property                                       page 9 of 11
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77. Other property of any kind not already listed Examples: Season tickets, country club membership

                                                                                                                           $           0.00
                                                                                                                               ----------


78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.                                                                   s 0.00
79   Has any of the property listed in Part 11 been appraised by a professional within the last year?
     EI    No
     □ Yes



                -
In Part 12 copy all of the totals from the earlier parts of the form.

          Type of property                                                   Current value of                   Current value of
                                                                             personal property                  real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.     $        28,200.00

  81. Deposits and prepayments. Copy line 9, Part 2.                         $               0.00

  82. Accounts receivable. Copy line 12, Part 3.                             $        98,635.17

  83. Investments. Copy line 17, Part 4.                                     $               0.00

  84 Inventory. Copy line 23, Part 5.                                        $               0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.              $               0.00

  86. Office furniture, fixtures, and equipment; and collectibles.
      Copy line 43, Part 7.                                                  $               0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.              $      554,700.00


  88. Real property. Copy line 56, Part 9                                                   -+                  s 0.00

  89. Intangibles and intellectual property. Copy line 66, Part 10.          $        0.00
                                                                                 -------

  90. All other assets. Copy line 78, Part 11.                             + s -------
                                                                                    0.00


  91. Total. Add lines 80 through 90 for each column              ...91a     $      681,535.17        I + 01, I ,              o_._
                                                                                                                                  o o_




Official Form 206A/B                             Schedule A/B: Property - Real and Personal Property                                     page 10 of 11
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  92. Total of all property on Schedule A/8. Lines 91a + 91b= 92                                        $ 681.535.17




Official Form 206A/B                        Schedule A/8: Property Real and Personal Property                 page 11 of 11
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 Supplement to Schedule A/B Question No. 50
 Owned Equipment

 Eq u ip m ent Typ e                          I Age of Eq u ip m ent              I Estim ated Bo o k Value   I Estim ated FMV
 Peptid e Lab


                                                  <2years (to be installed
 Liberty Blue 12 Microwave Synthesizer                                                                                 $110,000
                                                  7/15/2023                                 $130,000


 lntavis MultiPep RSi                             5 years; refurbed 2022                     $90,000                    $60,000
 lntavis MultiPep RS - HT peptides                8 years; refurbed 2021                     $80,000                    $40,000
 lntavis MultiPep RS- HT peptides                 9 yea rs; refu bed 2021                                               $40,000

                                              -
 Hoods owned by 21st CB (4)
                                                                                  -
 2 are in AQT labs, 2 in Peptide lab                                                                                    $25,000
                                                  8-12 years                                $45,000


 Centrifuges
 Thermo Sorvall xPro                              1.5 years                                 $16,000                    $13,000
 Thermo Sorvall ST16                              5 years                                   $12,000                     $6,000
 Eppendorf Microcentrifuge                        8 years                                   $3,250                      $1,500

                                                                              -
 Misc Equipment
 Multiple freezers (-20), refrigerators,
 balances, sonicators, water baths, ovens,
                                                               varies                       $100,000                 $35,000 (est)
 benches, dessicators, platform shakers,
 vortexers

 HPLC Lab


 Automated preparative HPLC Units

 2 Gilson systems: semi-prep, 322 pumps,            components are 5-15
 155 UV detector, 215 robotic collector,          years old; refurbed when                 $100,000           $20,000/unit; $40,000 total
 Trilution software                                        needed
 1 Gilson system: large scale prep, 33x             components are 5-15
 pumps, 155 UV detector, 215 robotic              years old; refurbed when                  $80,000                     $30,000
 collector, Trilution software                             needed



 Analytical HPLC Units

 2 systems: 305/306 pumps, 155 detectors,
                                                   3-10 years old, refurbed
 mixing chamber, 234 atoinjector, Trilution                                                 $40,000           $12,000/unit; $24,000 total
                                                        when needed
 software



 Finish and Fill Lab


 Lyophilizers - LabConco; Freezone 12L                   4 years old                        $37,000                    $14,000


 -80 freezers- 3                                        2-6years old
                                                                              -             $90,000                    $12,000


 Laminar flow hood                                       8 years old                        $15,000                     $2,500
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 Misc equipment - balances, -20 freezers,
                                                       varies            $27,500      $12,000 (est)
 refrigerators, dessicators

 Analytical Lab (MS/AAA)


 TF Velox Pro with Eksigent nanoLC
                                              8 yea rs; refu rbed 2020   $125,000       $45,000
 w/Autosampler

 Sutter Pipette Puller                               12 years             $7,500         $3,000

 Biochrom 80 Amino Acid Analyzer                      7 years            $90,000        $30,000

 Antibody Lab

 2 Chromatography Refrigerators                      5+ years            $25,000      $2,200 (est)

 Misc equipment - freezers (-20), balance,
 water bath, preparative liquid equipment
                                                      varies             $7,500         $9,500
 (platform shakers, aspirators, peristaltic
 pumps, etc)
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  Leased Equipment

  Equipment Type                                [Age of Equipment         [Estimated FMV


  Peptide Lab


  Intavis MultiPep 2                            1 year                        $95,000
  lntavis MultiPep 2                            <l year                       $95,000



  UPLC Shimadzu - state of the art UPLC with
  autoinjector multiple wavelength detector
                                                      1.5 years old           $55,000
  and ultrahigh pressure pumps; software;
  under service contract w/PM

  Finish and Fill Lab


  Lyophilizers - LabConco; Freezone 12L Plus;
                                                      2 years old             $22,000
  with tray drying

  Analytical Lab (MS/ AAA)


  Q Exactive MS; TF Dionex Ultimate 3000
                                                 7 years; refurbed 2021       $120,000
  nanoLC w/autosampler
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 Fill in this information to identify your case:              Document     Page 28 of 60

 Debtor Name       Twentyfirst Century Biochemicals, Inc.

 United States Bankruptcy Court for the: District of Massachusetts                                                                           □ Check if this is an
                                                                                                                                                amended filing
 Case number (If known)



 Official Farm 2060
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15

 Be as complete and accurate as possible


 1.   Do any creditors have claims secured by your property?
      D No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes Fill in all of the information below.

            List Creditors Who Have Secured Claims

                                                                                                                      Column A                  ColumnB
 2.   List in alphabetical order all creditors who have secured claims. If a creditor has more than                   Amount of claim           Value of collateral
      one secured claim, list the creditor separately for each claim.                                                 Do not deduct the         that supports this
                                                                                                                      value of collateral.      claim

[21crcaners are                                                    Describe debtor's property that is
                                                                   subject to a lien
        Balboa Capital                                                                                            $             71,000.00     s Unknown
        Creditor's mailing address
        575 Anton Blvd., Ste. 1080
        Costa Mesa, CA 92626

       Creditor's email address, if known                          Describe the lien



        Date debt was incurred                                     Is the creditor an insider or related party?
                                                                   EI No
       Last 4 digits of account number
                                                                   □ Yes
       Do multiple creditors have an interest in the same            Is anyone else liable on this claim?
       property?
       □  No                                                       □     No
                                       .fi d h      I .     . . ? Eii'J Yes. Fill out Schedule H: Codebtors (Official Form 206H).
       [] Y 'es. H lave you already
                              I  d specifiet the relative priority'?
            □ No. Specify each creditor, including this           As of the petition filing date, the claim is:
                      creditor, and its relative priority.        Check all that apply.
                                                                  □  Contingent
            □ Yes. The relative priority of creditors is             Unliquidated
                      specified on lines                      _   E Disputed




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 5
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                                                                           number (if known)
                 Name




[22]creators are                                                       Describe debtor's property that is
                                                                       subject to a lien
          Internal Revenue Service                                                                                     $      808,856.43   s Unknown
          Creditor's mailing address
          P.O. Box 37910
          Hartford, CT 06176-7008

          Creditor's email address, if known                           Describe the lien
                                                                       Tax Lien

          Date debt was incurred                                       Is the creditor an insider or related party?
                                                                       EI No
          Last 4 digits of account number
                                                                       □ Yes
          Do multiple creditors have an interest in the same           Is anyone else liable on this claim?
          property?
                                                                     EI No
          □□ No                        .fi d h      I .     . .    ? □  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. H lave you already
                               I d specifiet the relative priority':
              □ No. Specify each creditor, including this              As of the petition filing date, the claim is:
                        creditor, and its relative priority.           Check all that apply.
                                                                       D Contingent
              □ Yes. The relative priority of creditors is             □ Unliquidated
                        specified on lines                     _       E Disputed



[23]ccantors Nore                                                      Describe debtor's property that is
                                                                       subject to a lien
          Massachusetts Department of Revenue                                                                          $       15,700.74   s Unknown
          Creditor's mailing address
          P.O. Box 7000
          Boston, MA 02204

          Creditor's email address, if known                           Describe the lien
                                                                       Tax Lien

          Date debt was incurred                                       Is the creditor an insider or related party?
                                                                       EI No
          Last 4 digits of account number
                                                                       □ Yes
       Do multiple creditors have an interest in the same
                                                                       Is anyone else liable on this claim?
       property?
                                                                       EI No
          □ No
          □ Yes. Have you already specified the relative priority? □       Yes. Fill out Schedule H: Codebtors (Official Form 206H).

             □ No. Specify each creditor, including this               As of the petition filing date, the claim is:
                      creditor, and its relative priority.             Check all that apply.
                                                                       □  Contingent
             □ Yes. The relative priority of creditors is              □  Unliquidated
                      specified on lines                               □ Disputed




Official Form 2060                                  Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 5
                   Case 24-40446              Doc 1        Filed 05/02/24          Entered 05/02/24 10:58:39                        Desc Main
 Debtor                                              Document
                  Twentyfirst Century Biochemicals, Inc.                          Page 30Case
                                                                                          of 60
                                                                                              number (if known)
                  Name




[2@]creators are                                                    Describe debtor's property that is
                                                                    subject to a lien
          Navitas Credit Corporation                                                                            $            31,000.00   s Unknown
          Creditor's mailing address
          203 Fort Wade Road
          Ponte Vedra, FL 32081

          Creditor's email address, if known                        Describe the lien                               Description
                                                                    Equipment Lien

          Date debt was incurred                                    Is the creditor an insider or related party?
                                                                    EI No
          Last 4 digits of account number
                                                                    □ Yes
          Do multiple creditors have an interest in the same
                                                                        Is anyone else liable on this claim?
          property?
          EI No
                                                                    □       No
          □  Yes H lave you alrea
                               I
                                            ·ri d h        .
                                  dly specifier the relative
                                                        1
                                                               .  . ? @ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             priority':
              □  No. Specify each creditor, including this              As of the petition filing date, the claim is:
                      creditor, and its relative priority.              Check all that apply.
                                                                    □       Contingent
              □  Yes. The relative priority of creditors is             E] Unliquidated
                      specified on lines                                    Disputed




[2s]creators are                                                   Describe debtor's property that is
                                                                   subject to a lien
          Pawnee Leasing Corporation                                                                           $             43,000.00   s Unknown
          Creditor's mailing address
          3801 Automation Way, Unit 207
          Fort Collins, CO 80525

          Creditor's email address, if known                       Describe the lien
                                                                   Equipment Lien

          Date debt was incurred                                   Is the creditor an insider or related party?
                                                                   EI No
          Last 4 digits of account number
                                                                   □      Yes
       Do multiple creditors have an interest in the same
                                                                      Is anyone else liable on this claim?
       property?
       EI No
                                                                   □      No
       □  Yes. H lave you alrea
                                          .f. d h     I .
                             I ddy specifier the relative1
                                                             . . ? @ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                           priority'.
          D No. Specify each creditor, including this                 As of the petition filing date, the claim is:
                    creditor, and its relative priority.              Check all that apply.
                                                                   □      Contingent
              □
              Yes. The relative priority of creditors is           □      Unliquidated
                    specified on lines                                E! Disputed




Official Form 2060                             Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 5
                   Case 24-40446                   Doc 1       Filed 05/02/24       Entered 05/02/24 10:58:39                     Desc Main
 Debtor                                             Document
                 Twentyfirst Century Biochemicals, Inc.                            Page 31Case
                                                                                           of 60
                                                                                               number (if known)
                 Name




[2@]creators Name                                                   Describe debtor's property that is
                                                                    subject to a lien
          Pawnee Leasing Corporation                                                                               $      39,000.00       s Unknown
          Creditor's mailing address
          3801 Automation Way, Unit 207
          Fort Collins, CO 80525

          Creditor's email address, if known                        Describe the lien
                                                                    Equipment Lien

          Date debt was incurred                                    Is the creditor an insider or related party?
                                                                    EI No
          Last 4 digits of account number                           D Yes
          Do multiple creditors have an interest in the same
                                                                    Is anyone else liable on this claim?
          property?
                                                                    0 No
          E No
                                                                    0 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          D Yes. Have you already specified the relative priority?
            D No. Specify each creditor, including this            As of the petition filing date, the claim is:
                        creditor, and its relative priority.        Check all that apply.
                                                                    D Contingent
              D Yes. The relative priority of creditors is          0 Unliquidated
                        specified on lines                          E Disputed




[27]creators Name                                                   Describe debtor's property that is
                                                                    subject to a lien
          TD Bank                                                                                              $        230,000.00    Unknown
          Creditor's mailing address
          1710 Marlton Pike E
          Cherry Hill, NJ 08003

          Creditor's email address, if known                        Describe the lien
                                                                    All Asset Lien

          Date debt was incurred                                    Is the creditor an insider or related party?
                                                                    EI No
          Last 4 digits of account number                           D Yes
          Do multiple creditors have an interest in the same
                                                                    Is anyone else liable on this claim?
          property?
                                                                    0 No
          I No
                                                                   0 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          D Yes. Have you already specified the relative priority?
            D No. Specify each creditor, including this            As of the petition filing date, the claim is:
                      creditor, and its relative priority.          Check all that apply.
                                                                    D Contingent
             D Yes. The relative priority of creditors is           0 Unliquidated
                      specified on lines                            D Disputed




 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any                         $    1,238,557.17




Official Form 2060                                 Schedule D: Creditors Who Have Claims Secured by Property                                     page 4 of 5
                Case 24-40446              Doc 1       Filed 05/02/24          Entered 05/02/24 10:58:39                    Desc Main
Debtor                                           Document
              Twentyfirst Century Biochemicals, Inc.                          Page 32Case
                                                                                      of 60
                                                                                          number (if known)
              Name



          List Others to Be Notified for a Debt That You Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and Address                                                                                           On which line in Part 1       Last 4 digits of
                                                                                                           did you enter the             account number
                                                                                                           related creditor?             for this entity

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA                                                                                           Line 22

Kream & Kream
PO Box 890117
East Weymouth, MA 02189                                                                                    Line 2. 7

Massachusetts Department of Revenue
P.O. Box 9564
Boston, MA 02114-9564                                                                                      Line 2. 3

Matthew P Curewitz
118 Turnpike Road
Southborough, MA 01772-2104                                                                                Line 22




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 5 of 5
                 Case 24-40446               Doc 1         Filed 05/02/24 Entered 05/02/24 10:58:39                                 Desc Main
Fill in this information to identify your case:             Document     Page 33 of 60
Debtor Name      Twentyfirst Century Biochemicals, Inc.

United States Bankruptcy Court for the: District of Massachusetts                                                                          □ Check if this is an
                                                                                                                                               amended filing
Case number (II known)                                                              Chapter     11




Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                              12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
1.     Does the debtor have any executory contracts or unexpired leases?
       D No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
       li?J Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AIB: Assets - Real and Personal Property (Official
          Fonn 206AIB).

                                                                                       State the name and mailing address for all other parties with whom
2.    List all contracts and unexpired leases
                                                                                       the debtor has an executory contract or unexpired lease

2.1   State what the contract or              Materials for Antibody                   PRF&L
      lease is for and the nature             Production                               306 Dutch Hill Road
      of the debtor's interest                                                         Canadensis, PA 18325

      State the term remaining               2 months

      List the contract number of
      any government contract


2.2   State what the contract or             Materials for Antibody                    PRF&L
      lease is for and the nature            Production                                306 Dutch Hill Road
      of the debtor's interest                                                         Canadensis, PA 18325

      State the term remaining               1 month

      List the contract number of
      any government contract


2.3                                          Materials for Antibody                    PRF&L
      State what the contract or             Production                                306 Dutch Hill Road
      lease is for and the nature                                                      Canadensis, PA 18325
      of the debtor's interest

      State the term remaining               1 month

      List the contract number of
      any government contract


2.4   State what the contract or             Materials for Antibody                    PRF&L
      lease is for and the nature            Production                                306 Dutch Hill Road
      of the debtor's interest                                                         Canadensis, PA 18325

      State the term remaining               1 month

      List the contract number of
      any government contract




Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                                  page 1 of 2
               Case 24-40446        Doc 1     Filed 05/02/24    Entered 05/02/24 10:58:39    Desc Main
Debtor                                          Document
              Twentyfirst Century Biochemicals, Inc.           Page 34  ofnumber
                                                                     Case  60 (if known)
              Name




2.5   State what the contract or    Materials for Antibody       PRF&L
      lease is for and the nature   Production                   306 Dutch Hill Road
      of the debtor's interest                                   Canadensis, PA 18325

      State the term remaining      1 month
      List the contract number of
      any government contract


2.6                                 Lease of premises at 260     TV Marlborough, LLC
      State what the contract or    Cedar Hill Street,           42 Monument Street
      lease is for and the nature   Marlborough, MA              Concord, MA 01742
      of the debtor's interest

      State the term remaining      54 months
      List the contract number of
      any government contract




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases               page 2 of 2
                Case 24-40446                Doc 1       Filed 05/02/24 Entered 05/02/24 10:58:39                            Desc Main
Fill in this information to identify your case:           Document     Page 35 of 60
Debtor Name      Tw entyfirst Century Biochemicals, Inc.

United States Bankruptcy Court for the: District of Massachusetts                                                                   □ Check if this is an
                                                                                                                                           amended filing
Case number (at known)




Official Form 206H
Schedule H: YourCodebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.
1.    Does the debtor have any codebtors?
      □ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                       Column 2: Creditor

                                                                                                                                 Check all schedules that
      Name and description             Mailing address                                         Name
                                                                                                                                 apply:

      Jordan
      Fishman                         49 Mallard Drive                                         TD Bank                                D         2.7
      Name                            Number Street                                            Name
                                                                                                                                  □ E/F
                                      Fitchburg               MA       01420                                                      □ G
      Description                     City                    State    Zip Code


      Jordan                                                                                  Navitas Credit
      Fishman                         49 Mallard Drive                                        Corporation                         li?J D       2.4
      Name                            Number Street                                           Name
                                                                                                                                 □    E/F

      Description
                                      Fitchburg
                                      City
                                                              MA
                                                              State
                                                                       01420
                                                                       Zip Code
                                                                                                                                 □ G

      Jordan
      Fishman                         49 Mallard Drive                                        Balboa Capital                          D        2.1
      Name                            Number Street                                           Name
                                                                                                                                 ] EIF
                                      Fitchburg               MA       01420                                                     □ G
      Description                     City                    State    Zip Code


      Jordan
      Fishman                         49 Mallard Drive                                        Byzfunder                          □ D
      Name                            Number Street                                           Name
                                                                                                                                 EI EIF        4.9
                                                                                                                                             ------
                                      Fitchburg               MA       01420                                                     □ G
      Description                     City                    State    Zip Code


      David                           17 Village Way
      Fishman                         Unit F                                                  TD Bank                            1 D           2.7
      Name                            Number Street                                           Name
                                                                                                                                 □ E/F
                                      Norton                  MA       02766                                                     □ G
      Description                     City                    State    Zip Code


Official Form 206H                                             Schedule H: Your Codebtors                                                             page 1 of 2
                Case 24-40446         Doc 1       Filed 05/02/24       Entered 05/02/24 10:58:39    Desc Main
Debtor                                           Document
              Twentyfirst Century Biochemicals, Inc.                  Page Case
                                                                            36 number
                                                                                of 60(if known)
              Name



      Estate of
      John Prosser             125 Foxfire Place                                   TD Bank            0 D     2.7
      Name                     Number    Street                                    Name
                                                                                                      □ E/F
                               Rockton
                               City
                                                      IL
                                                      State
                                                              61072
                                                              Zip Code
                                                                                                      □ G
      Description


      Jordan
      Fishman                  49 Mallard Drive                                    Pawnee Leasing     0 D     2.5 & 2.6
      Name                     Number    Street                                    Name
                                                                                                      □ EIF
                               Fitchburg
                               City
                                                      MA
                                                      State
                                                              01420
                                                              Zip Code
                                                                                                      □ G
      Description




Official Form 206H                                         Schedule H: Codebtors                                    page 2 of 2
                   Case 24-40446             Doc 1        Filed 05/02/24 Entered 05/02/24 10:58:39                               Desc Main
 Fill in this information to identify your case:           Document     Page 37 of 60

 Debtor            Twentyfirst Century Biochemicals, Inc.

 United States Bankruptcy Court for the: District of Massachusetts                                                                   D Check if this is an
                                                                                                                                           amended filing
 Case number (/1 known).



 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                          12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
 Schedule AIB: Assets - Real and Personal Property (Official Form 206AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official
 Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
 Additional Page of that Part included in this form.

             List All Creditors with PRIORITY Unsecured Claims

 1.       Do any creditors have priority unsecured claims? (See 11US.C § 507).
           D No. Go to Part 2.
              Yes Go to line 2

 2.       List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3
          creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1
                                                                                                               Total Claim                 Priority Amount

[2.1_] Priority creditor's name and mailing address            As of the petition filing date, the claim is:
                                                               Check all that apply.
                                                                                                               $ 15.150.00             $ 15,150.00
           Eric Berg                                            D    Contingent
                                                                D    Unliquidated
           647 Townsend Road                                    D    Disputed
           Groton, MA 01450

           Date or dates debt was incurred                      Basis for the claim:
                                                                Unpaid Compensation


           Last 4 digits of account number                     Is the claim subject to offset?                     Description
                                                               EI No
           Specify Code subsection of PRIORITY                 D Yes
           unsecured claim: 11U.SC § 507(a) ( _
                                              4 __)



@J Priority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                               Check all that apply.
                                                                                                               $   13.754.00           $   13.754.00
           Erik McCauley                                       D    Contingent
                                                               0    Unliquidated
           3316 West Sutton Road                               D    Disputed
           Sutton, MA 01590

           Date or dates debt was incurred                     Basis for the claim:
                                                               Unpaid Compensation


          Last 4 digits of account number                      Is the claim subject to offset?                     Description
                                                               EI No
          Specify Code subsection of PRIORITY                  D Yes
          unsecured claim: 11U.SC § 507(a) 4)



Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          page 1 of 23
                 Case 24-40446              Doc 1        Filed 05/02/24            Entered 05/02/24 10:58:39                  Desc Main
Debtor          Twentyfirst Century Biochemicals, Document
                                                  Inc.                            Page 38Case
                                                                                          of 60
                                                                                              number (if known)
                Name




[ID Priority creditor's name and mailing address               As of the petition filing date, the claim is:
                                                               Check all that apply.
                                                                                                               $ 10,500.00             10.500.00
          Pam Crowley                                          D     Contingent
                                                               D     Unliquidated
          23 Laurelwood Drive                                  D     Disputed
          Stoughton, MA 02072

          Date or dates debt was incurred                      Basis for the claim:
                                                               Unpaid Compensation


          Last 4 digits of account number                      Is the claim subject to offset?                 Description
                                                               EI No
          Specify Code subsection of PRIORITY                  D Yes
          unsecured claim: 11 U.SC. § 507(a) ( 4        _




            List All Creditors with NONPRIORITY Unsecured Claims

3.       List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim

CE] Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is:
                                                                             Check all that apply.
                                                                                                                             s 2837.93
          AAPPTEC                                                             D     Contingent
                                                                              □     Unliquidated
          6309 Shepherdsville Road                                            D     Disputed


          Louisville, KY 40228

          Date or dates debt was incurred                                    Basis for the claim:                             Description

                                                                                                                              Vendor


          Last 4 digits of account number                                    Is the claim subject to offset?
                                                                             EI     No
                                                                             D      Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2 of 23
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 Debtor                                          Document
               Twentyfirst Century Biochemicals, Inc.                     Page 39Case
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                                                                                      number (if known)
               Name


[4.2_] Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                     s 137.00
          AAT Bioguest Inc.                                           D    Contingent
                                                                      0    Unliquidated
          5775 W Las Positas Blvd.                                    D    Disputed


          Pleasanton, CA 94588

          Date or dates debt was incurred                            Basis for the claim:                            Description

                                                                                                                      Vendor


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI    No
                                                                     D     Yes




[4.3_] Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                     s 46500.00
          Andy Feldman                                               D     Contingent
                                                                     0     Unliquidated
          100 WATER ST                                               D     Disputed


          Worcester, MA 01604

          Date or dates debt was incurred                            Basis for the claim:                            Description

                                                                                                                      Loan


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI    No
                                                                     D     Yes




[4.4_] Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                     s 80,000.00
          Assayguant Technologies                                    D     Contingent
                                                                     D     Unliquidated
          260 Cedar Hill Street, Suite 2                             D     Disputed


          Marlborough, MA 01752

          Date or dates debt was incurred                            Basis for the claim:                            Description




          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI    No
                                                                     D     Yes




Official Form 206EIF                                Schedule EIF: Creditors Who Have Unsecured Claims                              page 3 of 23
                 Case 24-40446              Doc 1     Filed 05/02/24        Entered 05/02/24 10:58:39                  Desc Main
 Debtor                                           Document
                Twentyfirst Century Biochemicals, Inc.                     Page 40Case
                                                                                   of 60
                                                                                       number (if known)
                Name




@] Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 471.75
          Bio-Techne                                                  □     Contingent
                                                                      □     Unliquidated
          614 McKinley Place NE                                       □     Disputed

          Minneapolis, MN 55413

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




[4.6_{ Nonriority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 13605.41
          Blue Cross Blue Shield                                      □     Contingent
                                                                      □     Unliquidated
          Landmark Center                                             □     Disputed
          401 Park Drive

          Boston, MA 2215 -3326

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




@] Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 4,151.50
          BroadPharm                                                 □      Contingent
                                                                     □      Unliquidated
          6625 Top Gun St. Suite 103                                 □      Disputed

          San Diego, CA 92121

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




Official Form 206E/F                                Schedule EIF: Creditors Who Have Unsecured Claims                               page 4 of 23
                 Case 24-40446              Doc 1     Filed 05/02/24        Entered 05/02/24 10:58:39                 Desc Main
 Debtor                                           Document
                Twentyfirst Century Biochemicals, Inc.                     Page 41Case
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                                                                                       number (if known)
                Name




[Iu Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 1,386.25
          Brochu Bio-Lab Services                                     □     Contingent
                                                                      □     Unliquidated
          15 New England Executive Park                               □     Disputed

          Burlington, MA 01803

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




ITu Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 50,000.00
          Byzfunder                                                   □     Contingent
                                                                      □     Unliquidated
          530 7th Ave Suite 505                                             Disputed


          New York, NY 10018

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                       Loan

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




~ Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 10,276.29
          CHEM-IMPEX                                                 □      Contingent
                                                                     □      Unliquidated
          3405 Paysphere Circle                                      □      Disputed

          Chicago, IL 60674

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page 5 of 23
                 Case 24-40446              Doc 1     Filed 05/02/24        Entered 05/02/24 10:58:39                 Desc Main
 Debtor        Twentyfirst Century Biochemicals, Document
                                                 Inc.                      Page 42Case
                                                                                   of 60
                                                                                       number (if kn o w n)
                Name



~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 182.214.00
          Clare Tuson                                                 □      Contingent
                                                                      □      Unliquidated
          175 Maple Street Apr 306                                    □      Disputed


          Marlborough, MA 01752

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Loan


          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      EI     No
                                                                      □      Yes




[4.12]
     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 2000.35
          CNA Insurance Co.                                          D      Contingent
                                                                     □      Unliquidated
          P.O. Box 74007619                                          □      Disputed


          Chicago, IL 60674-7619

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




[Iill Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 2907.10
          Colonial Life                                              □      Contingent
                                                                     □      Unliquidated
          P.O. Box 903                                               □      Disputed


          Columbia, SC 29202-0903

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




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~ Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                     s 7560.63
          Combi-Blocks Inc                                            □    Contingent
                                                                      □    Unliquidated
          7949 Silverton Ave Suite 915                                □    Disputed


          San Diego, CA 92126

          Date or dates debt was incurred                             Basis for the claim:                               Description

                                                                                                                         Vendor


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     I     No
                                                                     □     Yes




~ Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $            968.70
                                                                     □     Contingent
                                                                                                                         -----------
          Crowdstrike Inc
                                                                     □     Unliquidated
          Dept LA 22808                                              □     Disputed


          Pasadena, CA 91185-2808

          Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                         Vendor


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     E     No
                                                                     □     Yes




[Iill Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                     s 3,950.00
          Dept of Environ. Protection                                □     Contingent
                                                                     D     Unliquidated
          PO Box 4062                                                □     Disputed


          Boston, MA 02211

          Date or dates debt was incurred                            Basis for the claim:                            Description

                                                                                                                         Vendor


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI    No
                                                                     □     Yes




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[!ill Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 16.500.00
          Donald H. Peterson                                          □     Contingent
                                                                      □     Unliquidated
          313 FURBISH RD                                              □     Disputed

          WELLS, ME 04090

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Loan

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




[Iill Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 4750.00
          Dube & Hazelwood                                            □     Contingent
                                                                      □     Unliquidated
          100 Erdman Way                                              □     Disputed

          Leominster, MA 01453

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




[Iill Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 3783.43
          Environmental Health & Engineering                         D]     Contingent
                                                                     □      Unliquidated
          180 Wells Avenue                                           □      Disputed
          Suite 200

          Newton, MA 02459-3328

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                            No
                                                                     □      Yes




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~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 38,835.00
          Eric Berg                                                   D    Contingent
                                                                      □    Unliquidated
          674 Townsend Road                                           D    Disputed


          Groton, MA 01450

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Unpaid Compensation

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      I    No
                                                                      D    Yes




[Iill Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 225000.00
          Eric Berg                                                   D    Contingent
                                                                      □    Unliquidated
          674 Townsend Road                                           D    Disputed


          Groton, MA 01450

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                       Loan

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI    No
                                                                     D     Yes




ITill Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 13.755.00
          Erik MaCauley                                              D     Contingent
                                                                     0     Unliquidated
          3316 West Sutton Road                                      D     Disputed


          Sutton, MA 10590

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Unpaid Compensation

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI    No
                                                                     D     Yes




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                                                  Inc.                     Page 46Case
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                Name




~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 9771.53
          Fisher Scientific Company LLC                               □      Contingent
                                                                      □      Unliquidated
          PO Box 3648                                                 □      Disputed

          Boston, MA 02241-3648

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number    -001                     Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




I 4.24 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 2500.00
          Gail Watson Estate of                                      □      Contingent
                                                                     □      Unliquidated
          57 Fire Road 7                                             □      Disputed

          Lancaster, MA 01523

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                       Loan

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




I 4.25 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 2472.65
          Gardner & Rosenberg                                        □      Contingent
                                                                     □      Unliquidated
          One State Street 4th Floor                                 □      Disputed

          Boston, MA 02109

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Legal Fees

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     E      No
                                                                     □      Yes




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I 4.26 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 4150.21
          Gilson Inc.                                                 □     Contingent
                                                                      □     Unliquidated
          PO Box 620027                                               □     Disputed

          Middleton, WI 53562-0027

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      E     No
                                                                      □     Yes




I 4.27 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 2648.31
          Guardian                                                    □     Contingent
                                                                      D     Unliquidated
          10 Hudson Yards                                             □     Disputed

          New York, NY 10001

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                      EI    No
                                                                     □      Yes




I 4.28 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 11927.12
          Harvard Pilgrim Health Care                                □      Contingent
                                                                     □      Unliquidated
          P.O. Box 970050                                            E      Disputed

          Boston, MA 02297- 005

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




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                                                  Inc.                    Page 48Case
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                Name



I 4.29 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 8,973.26
          High-Grade Cleaning Service Inc.                            D     Contingent
                                                                      0     Unliquidated
          P.O. Box 136                                                D     Disputed


          Hudson, MA 01749

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      I    No
                                                                      D    Yes




~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 30,000.00
          Jefferson L. Murray                                         D    Contingent
                                                                      0    Unliquidated
          102 WHEELER EXECUTIVE CTR                                   D    Disputed


          AUGUSTA, GA 30909

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                       Loan

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     I     No
                                                                     D     Yes




~ Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 60,000.00
          Jeffery Nagar                                              D     Contingent
                                                                     0     Unliquidated
          11312 RIDGEGATE DR                                         D     Disputed


          RALEIGH, NC 27617

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Loan

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     El    No
                                                                     D     Yes




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                Name


~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 50,000.00
          Jeffery Peterson                                            □      Contingent
                                                                      □      Unliquidated
          10 POWHATAN RD                                              □      Disputed

          PEPPERELL, MA 01463

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Loan


          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      EI     No
                                                                      □      Yes




I 4.33 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 100,000.00
          Joan Berg                                                  □      Contingent
                                                                     □      Unliquidated
          11465 Quivas Way                                           D      Disputed


          Westminster, CO 80234

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                       Loan

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     I      No
                                                                     □      Yes




I 4.34 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 55000.00
          John Prosser Estate of                                     □      Contingent
                                                                     □      Unliquidated
          125 Foxfire Place                                          □      Disputed

          Rockton, IL 61072

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Loan


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




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I 4.35 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 96454.00
          Jordan B. Fishman                                           □     Contingent
                                                                      D     Unliquidated
          49 Mallard Dr                                               □     Disputed

          Fitchberg, MA 01420

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Loan

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




ITill Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 21,875.00
          Leonard Berman                                              □     Contingent
                                                                      □     Unliquidated
          230 Woodward St                                             □     Disputed

          Waban, MA 02468

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                       Loan

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     E      No
                                                                     □      Yes




I 4.37 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 2970.00
          Long & Bott P.C.                                           □      Contingent
                                                                     D      Unliquidated
          PO Box 815                                                 □      Disputed


          Sudbury, MA 01776

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




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I 4.38 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 5950.00
          Lumiprobe Corp.                                             □     Contingent
                                                                      □     Unliquidated
          201 International Circle                                    □     Disputed
          Suite 135

          Hunt Valley, MD 21030

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




I 4.39 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 62,000.00
          Massachusetts DoUA                                          □     Contingent
                                                                      □     Unliquidated
          PO Box 419815                                               E     Disputed


          Boston, MA 02241- 981

          Date or dates debt was incurred                            Basis for the claim:                             Description




          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




I 4.40 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 4136.69
          Matrix Innovation                                          □      Contingent
                                                                     □      Unliquidated
          945 Newton                                                 □      Disputed
          Suite 132

          Quebec City Canada

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




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[4.41] Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                       $             0.00
                                                                       □    Contingent
                                                                                                                           -----------
           MedSupply Partners
                                                                       □    Unliquidated
           3715 Atlanta Industrial Pkwy NW                             □    Disputed
           Suite B

           Atlanta, GA 30331-106

           Date or dates debt was incurred                             Basis for the claim:                                Description

                                                                                                                           Vendor


           Last 4 digits of account number                             Is the claim subject to offset?
                                                                       I    No
                                                                       □    Yes




[4 .42    I Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                       s 640,000.00
           Melvin Budish Estate of                                    □     Contingent
                                                                      □     Unliquidated
           86 Pleasant Street                                         El    Disputed


           Worcester, MA 01609

           Date or dates debt was incurred                            Basis for the claim:                                 Description

                                                                                                                           Loan


           Last 4 digits of account number                            Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




I 4.43 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                       s 11,250.00
           Merril W. Wright                                           □     Contingent
                                                                      D     Unliquidated
           4243 BRAFFERTON ROAD                                       □     Disputed

           WILLIAMSBURG, VA 23188

           Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                           Loan


           Last 4 digits of account number                            Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




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                Name



I 4.44 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 1,223.80
          Minus-Eleven Inc.                                           □      Contingent
                                                                      □      Unliquidated
          70 Finnell Drive                                            □      Disputed

          Weymouth, MA 02188

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




[4.45 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 190,000.00
          Origene                                                     □     Contingent
                                                                      □     Unliquidated
          9620 Medical Center Drive                                   EI    Disputed
          Suite 200

          Rockville, MD 20850

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                       Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




I 4.46 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 20,831.15
          P3 Biosystems                                              □      Contingent
                                                                     □      Unliquidated
          10200 Forest Green Blvd                                    □      Disputed
          Suite112

          Louisville, KY 40223

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




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                                                 Inc.                     Page 54Case
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               Name




I 4.47 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 11013.67
          Pacific Immunology Corp                                     □     Contingent
                                                                      D     Unliquidated
          1672 Main St. Ste. E #171                                   □     Disputed


          Ramona, CA 92065

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor


          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      E     No
                                                                      □     Yes




I 4.48 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 14,061.00
          Pamela Crowley                                             □      Contingent
                                                                     □      Unliquidated
          23 Laurelwood Dr                                           □      Disputed


          Stoughton, MA 02072

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                       Unpaid Compensation


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     E      No
                                                                     □      Yes




I 4.49 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 3,396.51
          Pawnee Leasing Co.                                         □     Contingent
                                                                     □     Unliquidated
          700 Centre Avenue                                          □     Disputed


          Fort Collins, CO 80526

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI    No
                                                                     □     Yes




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                Name



I 4.50 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 2526.00
          Rapp Polymere                                               D     Contingent
                                                                      □     Unliquidated
          Ernst-Simon-Str. 9                                          □     Disputed

          D-72072 Tubingen Germany

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




[!ill Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 14.728.00
          Reagents/TCP Analytical                                     □     Contingent
                                                                      □     Unliquidated
          5609 Fern Valley Rd                                         □     Disputed

          Louisville, KY 40228

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                       Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     E      No
                                                                     □      Yes




~ Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 73,557.66
          Saxe Doernberger & Vita P.C.                               □      Contingent
                                                                     □      Unliquidated
          35 Nutmeg Drive                                            □      Disputed
          Suite 140

          Trumbull, CT 06611

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Legal Fees

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI     No
                                                                     □      Yes




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                Name




I 4.53 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                     s 2000.00
          Sigma-Aldrich                                               D     Contingent
                                                                      0     Unliquidated
          PO Box 535182                                               D     Disputed


          Atlanta, GA 30353

          Date or dates debt was incurred                            Basis for the claim:                            Description

                                                                                                                      Vendor


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI    No
                                                                     D     Yes




I 4.54 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                     s 1000.00
          Sussex Research                                            D     Contingent
                                                                     0     Unliquidated
          1120B-100 Sussex Drive                                     D     Disputed


          Ottawa Canada

          Date or dates debt was incurred                            Basis for the claim:                            Description

                                                                                                                     Vendor


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EJ    No
                                                                     D     Yes




I 4.55 I Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                     s 4437.26
          Thomas Scientific                                          D     Contingent
                                                                     0     Unliquidated
          1654 High Hill Road                                        D     Disputed


          Swedesboro, NJ 08085

          Date or dates debt was incurred                            Basis for the claim:                            Description

                                                                                                                     Vendor


          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI    No
                                                                     D     Yes




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 Debtor        Twentyfirst Century Biochemicals, Document
                                                 Inc.        Page 57Case
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                                                                         number (if known)
                Name




I 4.56 / Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 950.12
          Toshiba Business Solutions                                  □    Contingent
                                                                      □    Unliquidated
          P.O. Box 70239                                              □    Disputed

          Philadelphia, PA 19176-0239

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      E    No
                                                                      □    Yes




~ Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 267,229.24
          TV Marlborough, LLC                                         □    Contingent
                                                                      □    Unliquidated
          138 Trapelo Road                                            □    Disputed

          Lincoln, MA 01773

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                       Rent

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                          No
                                                                     □    Yes




I 4.58 / Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 2305.66
          Uni First Corporation                                      □    Contingent
                                                                     □    Unliquidated
          P.O. Box 650481                                            □    Disputed

          Dallas, TX 75265-0481

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     E    No
                                                                     □    Yes




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 Debtor         Twentyfirst Century Biochemicals, Document
                                                  Inc.                    Page 58Case
                                                                                  of 60
                                                                                      number (if known)                                             _
                Name




[Iill Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 1.346.43
          Unum Life Insurance Co. of America                          □     Contingent
                                                                      □     Unliquidated
          P.O. Box 403748                                             □     Disputed

          Atlanta, GA 30384-3748

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                       Vendor

          Last 4 digits of account number                             Is the claim subject to offset?
                                                                      EI    No
                                                                      □     Yes




I 4.60 I Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      s 2962.41
          USA Scientific                                              □    Contingent
                                                                      □    Unliquidated
          PO Box 3565                                                 □    Disputed

          Ocala, FL 34478

          Date or dates debt was incurred                             Basis for the claim:                            Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     EI    No
                                                                     □     Yes




@TI Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      s 500.00
          Yalist Labs                                                □     Contingent
                                                                     □     Unliquidated
          321 Walnut Street                                          □     Disputed

          Newton, MA 02460

          Date or dates debt was incurred                            Basis for the claim:                             Description

                                                                                                                      Vendor

          Last 4 digits of account number                            Is the claim subject to offset?
                                                                     I     No
                                                                     □     Yes




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Debtor                                            Document
               Twentyfirst Century Biochemicals, Inc.                         Page 59Case
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                                                                                          number (if known)
               Name



            List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
      collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed,
      copy the next page.

                                                                       On which line in Part 1 or Part 2 is the           Last 4 digits of account
         Name and mailing address
                                                                       related creditor (if any) listed?                  number


4.1       Commonwealth of MA Office of the Attorney                    Line    4.16
          General,
          Fair Labor Division                                            □ Not listed. Explain
          One Ashburton Place, 18th Floor
          Boston, MA 02108


4.2       Louis Ciaverra, Esq.                                         Line    4.42
          Bowditch & Dewey
          311 Main Street                                                □ Not listed. Explain
          Worcester, MA 01608



4.3       Mark Lidner, Esq.                                            Line    4.45
          Linder & Associates
          P.O. Box 327                                                   □ Not listed. Explain
          Randolph, MA 02368



4.4       Massachusetts Department of Unemployment                    Line    4.39
          Assistance
          19 Staniford Street, 1st Floor                                 □ Not listed. Explain
          Attention Chief Counsel
          Boston, MA 02114-2502



           Total Amounts of the Priority and Nonpriority Unsecured Claims


5.    Add the amounts of priority and nonpriority unsecured claims.                              Total of claim amounts


5a.   Total claims from Part 1                                                     5a.



5b.   Total claims from Part 2                                                     5b.    +      s 2,507,738.02


5c.   Total of Parts 1 and 2                                                      5c.            $ 2,547,142.02
      Lines 5a + 5b = 5c.




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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

In re:                                            )
                                                  )
TWENTY FIRST CENTURY                              )      CHAPTER 11
BIOCHEMICALS, INC.                                )      CASE NO. 24----
                                                  )
                       Debtor.                    )

------------)

DECLARATION RE: ELECTRONIC FILING

PART I-DECLARATION

                Eric_Berg      _, hereby declare(s) under penalty of perjury that all of the
information contained in the Voluntary Petition, Declaration under Penalty of Perjury for Non-
Individual Debtors re. 20 Largest Creditors, and Verification of Creditor Matrix (collectively
the "Document"), filed electronically, is true and correct. I understand that this DECLARATION
is to be filed with the Clerk of Court electronically concurrently with the electronic filing of the
Document. I understand that failure to file this DECLARATION may cause the Document to be
struck and any request contained or relying thereon to be denied, without further notice.

         I further understand that, pursuant to the Massachusetts Electronic Filing Local Rule
(MEFLR) 7a). all paper documents containing original signatures executed under the penalties
of perjury and filed electronically with the Court are the property of the bankruptcy estate and
shall be maintained by the authorized CM/ECF Registered User for a period of five (5) years
after the closing of this case.             ]

Dated: May 2, 2024                        ~~
                                               Erie er@




         15241015.I
